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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


   SILVERADO CAPITAL LLC,

               Plaintiff,

   v.                                          Case No. 3:23-cv-556-MMH-PDB

   WATER STREET CAPITAL, INC.,

               Defendant.
                                      /


                                     ORDER

         THIS CAUSE is before the Court on the Joint Notice of Settlement (Dkt.

   No. 45; Notice) filed on August 9, 2024. In the Notice, the parties advise the

   Court that they have reached a settlement in this matter. See Notice at 1.

   Accordingly, it is hereby

         ORDERED:

         1.    The parties shall have until October 15, 2024, to file a joint

               stipulation of dismissal or other appropriate documents to close out

               this file.

         2.    If the parties have not filed settlement pleadings or a request for

               additional time by the October 15, 2024, deadline, this case will

               automatically be deemed to be dismissed without prejudice.
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         3.     The final pretrial conference scheduled for January 21, 2025, is

                cancelled, and this case is removed from the February 2025, trial

                term.

         4.     The Clerk of the Court is directed to terminate all pending motions

                and administratively close this case pending further Order of the

                Court.

         DONE AND ORDERED in Jacksonville, Florida this 12th day of

   August, 2024.




   ja

   Copies to:

   Counsel of Record




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